     Case 8:16-cv-01377-JVS-E Document 19 Filed 12/30/20 Page 1 of 2 Page ID #:58

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17   Toyota Motor Corporation
18
                IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
19
                           CENTRAL DISTRICT OF CALIFORNIA
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21   IN RE: TOYOTA MOTOR CORP.                  )   Case No. 8:10ML02151 JVS (FMOx)
     UNINTENDED ACCELERATION                    )   Case No.: 8:16-cv-01377JVS(FMOx)
22   MARKETING SALES PRACTICES                  )
23
     AND PRODUCTS LIABILITY                     )
     LITIGATION                                 )
24                                              )   ORDER ON STIPULATION OF
     This document relates to:                  )   DISMISSAL
25
     Marisol Rodriguez-Marrero, et al. v.       )   (FRCP Rule 41(a)(1)(A)(ii))
26   Toyota Motor North America, Inc., et       )
     al.; Case No.: 8:16-cv-                    )
27   01377JVS(FMOx)                             )
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     23526966                               1
                ORDER ON STIPULATION OF DISMISSAL (FRCP Rule 41(a)(1)(A)(ii))
     Case 8:16-cv-01377-JVS-E Document 19 Filed 12/30/20 Page 2 of 2 Page ID #:59

 1              The Court, having read the Stipulation of Dismissal filed by all parties to have
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     appeared in this action, and finding good cause,
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                IT IS HEREBY ORDERED that this action is dismissed in its entirety with
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 5   prejudice as to all plaintiffs' claims, actions and causes of action asserted against
 6   defendants. Each party is to bear its own costs and fees, including, but not limited to,
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     attorney's fees and expert fees. The Court shall retain jurisdiction over the action for 90
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     days following the entry of this Order (unless extended) for the purposes of enforcing the

10   terms of the parties’ settlement agreement.
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                IT IS SO ORDERED.
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     DATED: December 30, 2020
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                                                Honorable James V. Selna
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                     ORDER ON STIPULATION OF DISMISSAL (FRCP Rule 41(a)(1)(A)(ii))
